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U.S. District Court

Nevada None - Las Vegas

Receipt Date: Apr 17, 2023 4:04PM
Jese DeCastro

Rept. No: 200003606 Trans. Date: Apr 17, 2023 4:04PM Cashier ID: #KF
cD Purpose Case/Party/Defendant Qty Price Amt
200 Civil Filing Fee- Non-Prisoner 1 402.00 402.00
cD Tender Amt
ce Credit Card $402.00
Total Due Prior to Payment: $402.00

Total Tendered: $402.00

Total Cash Received: $0.00

Cash Change Amount: $0.00

Comments: 2:23-cv-00580-APG-EJY

Only when the bank clears the check, money order, or verifies credit of funds, is the fee or debt officially paid or discharged. A $53 fee
will be charged for a returned check.
